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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 DAIJON MCCALL,                                 )
                                                ) Civil Action No. 20-287
                       Plaintiff,               )
                                                ) Judge Marilyn J. Horan
        v.                                      )
                                                )
 DEBORAH KANE, JUANITA BARBER,                  )
 MARLEA J. APPLEGATE, GREGORY                   )
 NANNY, and EEOC, PITTSBURGH,                   )
                                                )
                       Defendants.              )


                              MEMORANDUM ORDER

Marilyn J. Horan, United States District Judge.

       AND NOW, this 6th day of May 2020,

       After the magistrate judge having submitted a report and recommendation (ECF

No. 8) recommending that this action be dismissed under the screening provisions of 28

U.S.C. § 1915 and pursuant to Federal Rule of Civil Procedure 12(b)(6); the report and

recommendation having been served on Plaintiff; Plaintiff having filed objections; and

accordingly, after a de novo review of the pleadings and documents in this case, together

with the report and recommendation and the objections, the following order is entered:

       IT IS HEREBY ORDERED that the objections are overruled;

       IT IS FURTHER ORDERED that the report and recommendation of Magistrate

Judge Patricia L. Dodge (ECF No. 8) is hereby adopted as the opinion of the District Court;

       IT IS FURTHER ORDERED that the Complaint is DISMISSED for failure to state

a claim; and




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    IT IS FURTHER ORDERED that the Clerk of Court shall mark this case CLOSED

FORTHWITH.


                                     BY THE COURT:


                                     /s/Marilyn J. Horan
                                     Marilyn J. Horan
                                     United States District Judge




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